         Case 2:20-cv-00204-MRH Document 48 Filed 02/24/21 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 CHANNA NEWMAN,                             )
                                            )
               Plaintiff,                   )
                                            ) Civil Action No. 2:20-cv-00204-MRH
               vs.                          )
                                            )
 POINT PARK UNIVERSITY,                     )
                                            )
               Defendant.                   )

                                           ORDER

                         24th
       AND NOW, on this _______          February
                                day of ____________________, 2021, the parties’

Stipulation and Protective Order is hereby approved by this Court as a protective order pursuant

to Fed. R.Civ. P. 26(c).



                                            BY THE COURT:



                                             s/ Mark R. Hornak
                                            ____________________________________
                                            Mark R. Hornak, U.S. District Judge


ecf/cc: All Counsel of Record

This Order entering a protective order Is
provisional in that it may be vacated or modified,
in whole or in part, at any time for good cause
shown upon the motion of any party (or any other
person with a recognized interest as to such
matters), or by the Court upon its own motion.
/s/ Mark R. Hornak, U.S. District Judge
